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                     UNITED STATES DISTRICT COURT FOR THE
                        NORTHERN DISTRICT OF ILLINOIS
VANESSA POPP, Individually and as mother
and next friend of JOSEPHINE PEREZ, a
minor,

                      Plaintiff,                    Case No.: 1:16-cv-04331

       v.                                           Honorable John J. Tharp Jr.

VHS WEST SUBURBAN MEDICAL
CENTER, INC., and UNITED STATES OF
AMERICA,

                      Defendants.



                 JOINT STIPULATION          OF   VOLUNTARY DISMISSAL
       IT IS HEREBY STIPULATED AND AGREED by and between the parties and/or their

respective counsel(s) that the above-captioned action is voluntarily dismissed, without prejudice,

against Defendant VHS WEST SUBURBAN MEDICAL CENTER, INC., pursuant to the

Federal Rules of Civil Procedure 41(a)(1)(A)(ii).

July 20, 2016


       /s/ Michael Cogan                            /s/ Robert E. O’Malley
 One of the Attorneys for Plaintiff          One of the Attorneys for
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